                 Case 2:14-cr-00303-DC Document 46 Filed 05/20/16 Page 1 of 3


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9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:14-CR-0303GEB
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) [PROPOSED] ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     SESAR PRADO, AND                   )
15
     RAMON GARCIA PRADO                 )
16                                      ) Date: 6-24-2016
                      Defendant.        ) Time: 9:00 a.m.
17   ________________________________) Judge: Hon. Garland E. Burrell, Jr.
18
            Plaintiff United States of America, by and through its counsel of record, and
19

20
     defendants Sesar Prado and Ramon Prado, by and through their counsels of record,

21   hereby stipulate as follows:
22
            1.      By previous order, this matter was set for status May 20, 2016.
23
            2.      By this stipulation, defendant now moves to continue the status
24

25   conference until June 24, 2016, and to exclude time between May 20, 2016 and June 24,
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     2016, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the
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                 Case 2:14-cr-00303-DC Document 46 Filed 05/20/16 Page 2 of 3


1    following:
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            a.      The government has represented that the discovery associated with this
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     case includes investigative reports, search warrant affidavits, judgment and commitment
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5    records, CD’s and DVD’s, and RAP sheets of the defendants. All of this discovery has
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     been either produced directly to counsel and / or made available for inspection and
7
     copying.
8

9           b.      Counsel for defendants desires additional time to complete the review of
10
     discovery, to conduct defense investigation, and to discuss potential resolutions with
11
     their clients. In particular, counsel for defendants recently received audio recorded calls
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13
     from a wiretap that must be reviewed. Counsels have also been continuing to engage in

14   pre-trial negotiations with the government and otherwise prepare for trial.
15
            c.      Counsel for defendants believe that failure to grant the above-requested
16
     continuance would deny them the reasonable time necessary for effective preparation,
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18   taking into account the exercise of due diligence.
19
            d.      The government does not object to the continuance.
20
            e.      Based on the above-stated findings, the ends of justice served by
21

22   continuing the case as requested outweigh the interest of the public and the defendant in

23   a trial within the original date prescribed by the Speedy Trial Act.
24
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
25
     § 3161, et seq., within which trial must commence, the time period of May 20, 2016 to
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27   June 24, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
28
     B(iv) [Local Code T4] because it results from a continuance granted by the Court at


                                                 -2-
                   Case 2:14-cr-00303-DC Document 46 Filed 05/20/16 Page 3 of 3


1    defendant’s request on the basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and the defendant in a speedy
3
     trial.
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5             4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
7
     from the period within which a trial must commence.
8

9    IT IS SO STIPULATED.

10

11   Dated: May 19, 2016                                Respectfully submitted,
12
                                                        /s/ Kelly Babineau
13                                                      KELLY BABINEAU
14
                                                        Attorney for Ramon Prado

15
     Dated: May 19, 2016                                /s/ Dina Santos
16
                                                        DINA SANTOS
17                                                      Attorney for Sesar Prado
18

19
     Dated: May 19, 2016                                /s/ Christiaan Highsmith
20
                                                        CHRISTIAAN HIGHSMITH
21                                                      Assistant U.S. Attorney

22
                                              ORDER
23

24            IT IS SO FOUND AND ORDERED.
25   Dated: May 19, 2016
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